                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


JEANNE OLSON, not individually,               )
But as Trustee of the William Amor Trust      )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )              Case No. 18-cv-02523
                                              )
REBECCA GOMEZ, as Special                     )
Representative for Michael Cross,             )              The Hon. John J. Tharp, Jr.
Deceased, et al.,                             )
                                              )
       Defendants.                            )


                  MOTION TO BAR OR LIMIT THE TESTIMONY OF
                DEFENDANTS’ EXPERT WITNESS BRIAN NIGOHOSIAN

       Plaintiff Jeanne Olson (“Plaintiff”) moves pursuant to Rule 702 of the Federal Rules of

Evidence and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993) to bar the

proposed expert testimony of Brian Nigohosian. In support thereof, Plaintiff states as follows:

                                           Introduction

       The Defendants have disclosed a former prosecutor, Brian Nigohosian, as a non-retained

expert witness in this case. Ex. 1 (Defs. 26(a)(2) Discl.). Mr. Nigohosian was the Assistant

State’s Attorney (“ASA”) who conducted the felony review at the time of Bill Amor’s arrest,

took Mr. Amor’s 5:10 a.m. statement, and approved the charges against him. While Mr.

Nigohosian is a fact witnesses who can testify about the steps he took to prosecute Mr. Amor, he

cannot testify about the expert matters identified in Defendants’ disclosures. That is for two

reasons. First, the Defendants failed to properly disclose him under Federal Rule of Civil

Procedure (“Rule”) 26(a)(2)(C). Second, the topics that the Defendants identified are not topics
for expert testimony: they are either purely fact issues (Mr. Nigohosian’s observations and

interactions with Mr. Amor on October 4, 1995) or legal conclusions (the existence of probable

cause).

                                             Background

          The Defendants have identified Brian Nigohosian as a non-retained expert under Rule

26(a)(2)(C). Ex. 1 (Defs. 26(a)(2) Discl.). The Defendants’ disclosure states that:

          Mr. Nigohosian is an attorney and former DuPage County assistant state’s attorney who
          may be called to present evidence at trial under Federal Rules of Evidence 702, 703, or
          705 consistent with his deposition in this case and with his prior testimony in Plaintiff’s
          underlying criminal proceedings, including but not limited to his interaction with William
          Amor on October 4, 1995, the oral and audiotaped statements he took from Mr. Amor on
          October 4, 1995, and whether probable cause existed for arresting and approving charges
          against Mr. Amor for murder and arson in connection with the death of Marianne Miceli
          at 218 E. Bailey, Apt. M, Naperville, Illinois, on September 10, 1995.

Id. at 2.

          This disclosure is not only inadequate to put Plaintiff on notice of what expert testimony

the Defendants seek to elicit, but also, more importantly, includes testimony on legal questions

that fall outside Daubert’s scope and are otherwise improper subjects for trial.

                                              Standard

          “[A]ll witnesses who are to give expert testimony under the Federal Rules of Evidence

must be disclosed under Rule 26(a)(2)(A),” a disclosure which “should be in writing, signed by

counsel, and served to opposing counsel.” Musser v. Gentiva Health Servs., 356 F.3d 751, 756

(7th Cir. 2004). Additionally, a witness who is “‘retained or specially employed to provide

expert testimony’ must submit an expert report complying with Rule 26(a)(2)(B).” Id. at 756-57.

Under Federal Rule of Civil Procedure 26(a)(2)(C) the disclosure for a non-retained expert “must

state: (i) the subject matter on which the witness is expected to present evidence under Federal




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Rule of Evidence 702, 703, or 705; and (ii) a summary of the facts and opinions to which the

witness is expected to testify.”

                                             Argument

I.     The Defendants’ Disclosure of Mr. Nigohosian is Insufficient

       To start, Mr. Nigohosian should be precluded from opining as an expert in this litigation

because the Defendants’ Rule 26(a)(2) disclosures are inadequate and legally insufficient. Rule

26(a)(2)(C)(ii) requires that the disclosure of a non-retained expert include “a summary of the

facts and opinions to which the witness is expected to testify.” Fed. R. Civ. P. 26(a)(2)(C)(ii).

While “summaries do not have to be nearly as detailed as (a)(2)(B) retained expert reports . . .

summaries still must, not surprisingly, summarize the ‘facts and opinions to which the witness is

expected to testify.’” Browar v. Unum Life Ins. Co. of Am., No. 17 C 03643, 2018 WL

11184648, at *3 (N.D. Ill. Dec. 12, 2018) (quoting Rule 26(a)(2)(C)). That requirement “is not

satisfied by a mere statement of the topics of the opinions” or by the “amorphous

characterization—'consistent with their deposition testimony’ . . . .” Rivera v. AllState Ins. Co.,

140 F. Supp. 3d 722, 737 (N.D. Ill. 2015) (internal quotations omitted); Martinez v. Garcia, No.

08 C 2601, 2012 WL 12878716, at *1 (N.D. Ill. Nov. 5, 2012).

       On that score, Martinez v. Garcia, 2012 WL 12878716 (N.D. Ill. Nov. 5, 2012) is

instructive. In that case, two medical treater-defendants disclosed themselves as experts “to

provide opinions regarding their own medical care and that what they did was reasonable and

appropriate.” Id. at *1. The disclosure further indicated that the two would provide testimony

“consistent with their deposition testimony.” Id. Martinez found that disclosure “totally

unsatisfactory.” Id. at *2. “It defeats the entire purpose of witness disclosure” as it “require[s] an

adversary to engage in guesswork rather than particularizing the witness’ proposed testimony.”



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Id. As a result of the failure to comply with Rule 26, Martinez barred the two medical treater-

defendants from testifying as experts, but they could of course testify as occurrence witnesses.

Id.

            The same result should obtain here. Indeed, in their disclosure, the Defendants use the

same language that Martinez found “totally unsatisfactory”—that the testimony will be

“consistent with [his] deposition” Id. Mr. Nigohosian not only gave a deposition in this case, but

also testified at Mr. Amor’s motion to suppress, and at both of his criminal trials. The

Defendants’ failure to specify the “facts and opinions” in that testimony, which they seek to elicit

is fatal.

            Nor are the topics that the Defendants list any more illuminating or satisfactory under

Rule 26. See Rivera, 140 F. Supp. 3d at 727. For example, it is unclear what expert testimony

Mr. Nigohosian could offer about “his interaction with William Amor on October 4, 1995.” Ex.

1 (Defs. 26(a)(2) Discl.) at 2. To be sure, Plaintiff does not dispute that Mr. Nigohosian can

testify as a fact witness on that score, but it is unclear (at best) what expert testimony he intends

to offer on that or any other topic. And simply stating that “topic” without more does not fulfill

the requirements of Rule 26.1 For these reasons, just as was true in Martinez, Mr. Nigohosian

should be barred as an expert. Martinez, 2012 WL 12878716, at *2.

II.         Mr. Nigohosian Cannot Opine on Probable Cause

            Even if the Defendants had properly disclosed Mr. Nigohosian, he still cannot testify as a

non-retained expert because the topics that the Defendants identified are either not topics of

expert discovery or are legal conclusions.



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  The only fact in Mr. Nigohosian’s disclosure is that he is a current attorney and former ASA in DuPage
County; there is nothing identifying, let alone describing “the facts to which [Mr. Nigohosian] is expected
to testify.” Fed. R. Civ. P. 26(a)(2)(C)(ii).

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        The Defendants identified three topics in their disclosures: (1) Mr. Nigohosian’s

“interaction with William Amor on October 4, 1995,”2 (2) “the oral and audiotaped statements he

took from Mr. Amor on October 4, 1995,” and (3) “whether probable cause existed for arresting

and approving charges against Mr. Amor for murder and arson . . . .” Ex. 1 (Defs. 26(a)(2)

Discl.) at 2. The first two topics can be disposed of quickly: Mr. Nigohosian is a fact witness

who interrogated Mr. Amor on October 4, 1995 and took an audio-recorded statement from him.

As such, testimony about Mr. Nigohosian’s “interaction” with Mr. Amor and Mr. Amor’s

statement are subjects for fact—not expert—testimony. Indeed, the Defendants have not

suggested any way in which these matters fall into the expert box.3

        As to the third topic—the existence of probable cause—“[a]s a general rule, an expert

cannot offer legal opinions or conclusions.” Sanders v. City of Chicago Heights, No. 13 C 0221,

2016 WL 1730608, at *7 (citing to Jimenez v. City of Chicago, 732 F.3d 710, 721 (7thCir.

2013)). “Expert testimony as to legal conclusions that will determine the outcome of the case is



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  To the extent that this disclosure is intended to alert Plaintiff to Mr. Nigohosian’s deposition testimony
in which Mr. Nigohosian speculated that Mr. Amor was not traumatized by being served with divorce
papers, was minimizing in his confession and/or that Mr. Amor’s confession is partly true, the disclosure
is not only woefully deficient, but also Mr. Nigohosian does not remotely have the expertise to weigh in
on these matters. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156 (1999) (expert testimony based
on practical experience requires “extensive and specialized experience”); Gayton v. McCoy, 593 F.3d
610, 617 (7th Cir. 2010) (“The focus is not on whether the ‘expert’ is qualified in general, but whether his
or her qualifications provide a foundation for (him or her) to answer a specific question.”); Harris v. City
of Chicago, No. 14 C 4391, 2017 WL 3193585 at *4 (N.D. Ill. July 27, 2017) (limiting police practices
expert’s testimony where expert’s field “is police practices, not the complex social science of false
confessions and coercive interrogations”). Nor would they be the proper subject for expert testimony. Mr.
Nigohosian cannot opine on how Mr. Amor felt nor can he opine on whether Mr. Amor’s confession is
true or not. That is the province of the jury. Todero v. Blackwell, No. 117CV01698JPHMJD, 2020 WL
5542440, at *3 (S.D. Ind. Sept. 16, 2020) (expert “may not attempt to resolve factual disputes for the
jury”); United States v. Brown, 871 F.3d 532, 539 (7th Cir. 2017) (Federal rules “prohibit expert opinions
that would ‘merely tell the jury what result to reach.”).
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  Moreover, Mr. Nigohosian admitted that in his career as a prosecutor he took less than five confessions
from suspects. Ex. 2 (Nigohosian Dep.) at 65:13-16. As such, he does not have the expertise regardless to
testify about taking confessions and a suspect’s reaction(s) to interrogations and confessions. See Gayton,
592 F.3d at 617-18; Harris, 2017 WL 3193585, at *4.

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inadmissible.” Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th

Cir. 2003). Instead, experts are “limited to describing sound professional standards and

identifying departures from them.” Jimenez, 732 F.3d at 721.

          As applied to this case, that means that Mr. Nigohosian cannot testify that there was

probable cause to arrest Plaintiff or to continue his prosecution, as the Defendants Rule 26(a)(2)

disclosures suggest. Ex. 1 (Defs. 26(a)(2) Disc.) at 2. That opinion is a “legal conclusion” and

one that would be outcome determinative of Plaintiff’s malicious prosecution claim. See Doc.

209 at 32-37 (and cases cited therein); see also Kuri v. City of Chicago, No. 13 C 1653, 2017

WL 4882338, at *7 (N.D. Ill. Oct. 30, 2017); Blocker v. City of Chicago, No. 17 CV 00055, 2017

WL 3278323, at *4 (N.D. Ill. Aug. 2, 2017).

          Moreover, Mr. Nigohosian did not talk about professional standards for probable cause,

or deviations therefrom, in his deposition. As a result, there is no testimony about “probable

cause” that is “consistent with [his] deposition” and disclosed in this case. Ex. 1 (Defs. 26(a)(2)

Discl.) at 3-4. Mr. Nigohosian should be limited to being an occurrence witness. The question of

whether there was or was not probable cause is for the jury.

                                             Conclusion

          For all the reasons stated above, Mr. Nigohosian should be barred from testifying as an

expert.

          WHEREFORE Plaintiff respectfully requests that this Court bar Mr. Nigohosian from

testifying as an expert.




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                                            Respectfully submitted,

                                            JEANNE OLSON, Not Individually But
                                            As Trustee of the William Amor Trust

                                            By:      /s/ Gayle Horn
                                                   Attorney for the Trustee

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                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on May 17, 2024, he caused the foregoing
document to be served on all counsel of record by filing the same using the Court’s CM/ECF
system, which automatically effected service on all counsel of record.


                                                      /s/ Gayle Horn




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